                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


GERALD CORNELIUS ELDRIDGE,                       §
         Petitioner                              §
                                                 §
V.                                               §               CIVIL ACTION NO. H-05-1847
                                                 §
WILLIAM STEPHENS, Director,                      §
Texas Department of Criminal                     §
Justice, Correctional Institutions Division,     §
              Respondent.                        §



                PETITIONER’S MOTION TO REOPEN THE JUDGMENT
                              DUE TO MISTAKE

       On June 26, 2013, two days before this Court issued its ruling denying Petitioner Gerald

Cornelius Eldridge’s Motion to Alter or Amend the Judgment, Mr. Eldridge filed a supplement

to his Rule 59(e) Motion. See DE 290. The supplement contained extensive and compelling

new evidence that did not exist at the time Mr. Eldridge filed his Rule 59(e) Motion. The new

evidence supports Mr. Eldridge’s contention in his Rule 59(e) Motion that the Court made

manifest errors of fact and law in denying his claim that he is incompetent to be executed.

       Despite the presentation of powerful new evidence that TDCJ medical treatment

professionals had recently increased Mr. Eldridge’s daily dosage of antipsychotic medication,

this Court denied his Rule 59(e) Motion, expressly finding that Mr. Eldridge “cites no new

evidence.” DE 291 at 1. The Court’s order makes no mention of Mr. Eldridge’s supplement or

his exhibit containing 45 pages of additional medical records.

       Mr. Eldridge asks this Court to reopen the judgment, pursuant to Rule 60(b). The

purpose of a Rule 60(b) motion is to permit the trial judge to “correct obvious errors or injustices

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and so perhaps obviate the laborious process of appeal.” Fackelman v. Bell, 564 F.2d 734, 735

(5th Cir. 1977). Rule 60(b) provides, in relevant part: “On motion and just terms, the court may

relieve a party or its legal representative from a final judgment, order, or proceeding for the

following reasons: (1) mistake, inadvertence, surprise, or excusable neglect.” F. R. Civ. P.

60(b)(1). The Fifth Circuit has recognized that “a primary purpose of this motion is to give the

trial court the opportunity to correct its own mistake.” Id. at 735 n.1 (emphasis added). By

allowing a district court to correct its own obvious errors, Rule 60(b)(1) enables a court to avoid

wasting judicial energy expended in “engag[ing] the machinery of appeal.” Id. at 736.

        To prevent the unnecessary wasting of energies by both the appellate court and the

litigants, this Court should act before the deadline for filing a Notice of Appeal, because “a

perfected appeal divests the district court of jurisdiction.” Winchester v. United States Atty. for

S.D. of Tex., 68 F.3d 947, 950 (5th Cir. 1995). Once a Notice of Appeal has been filed, a district

court may consider or deny a Rule 60(b) motion, but it no longer has jurisdiction to grant such a

motion while the appeal is pending. Shepherd v. Int’l Paper Co., 372 F.3d 326, 329 (5th Cir.

2004). Under these circumstances, if a district court is inclined to grant the Rule 60(b) motion,

then the appellant should seek a remand from the Court of Appeals so that the district court may

grant the motion. Winchester, 68 F.3d at 949.

        Rule 60(b)(1) relief is appropriate here. This Court’s error is obvious and substantive.

Mr. Eldridge makes this motion one business day after the entry of the order denying the Rule

59(e) Motion – well before the deadline for filing a Notice of Appeal. Because of Mr. Eldridge’s

diligence, the State will suffer no serious injury. Finally, this Court retains jurisdiction to correct

its error.




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         ACCORDINGLY, to save judicial energies, time, and expense, this Court should

immediately reopen the judgment, correct its mistake, and grant relief on Mr. Eldridge’s Ford

claim.




                                              Respectfully Submitted,


                                              / s / Gregory W. Wiercioch

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                                 CERTIFICATE OF SERVICE

I certify that on July 1, 2013, I electronically filed the foregoing pleading with the clerk of the
court for the U.S. District Court, Southern District of Texas, using the electronic case filing
system. A “Notice of Electronic Filing” was sent to Counsel for Respondent at the following e-
mail address:

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                                                      / s / Gregory W. Wiercioch



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